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                           EXHIBIT 10
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From:                William C. McCorriston
To:                  Lowell, Abbe
Cc:                  nickielumdavis@                  ; David J. Minkin
Subject:             Nickie Davis [Attorney-Client Privilege]
Date:                Tuesday, August 25, 2020 10:32:31 PM
Attachments:         image001.png



Attorney-Client Privilege

Abbe,

This confirms that I have spoken to Ms. Davis about your representation of        and              .
 She has confirmed to me that your representation, and the context of such representation, of
these individuals was fully disclosed to her and she has consented to your representation of her
(Ms. Davis) with full knowledge of the foregoing. As independent counsel for Ms. Davis, I was able
to confirm the foregoing with her and, in my opinion, her consent to your representation of her
under such circumstance was fully informed and voluntary.

Very truly yours,


                                  William C. McCorriston
                                  Founding Partner
                                  McCorriston Miller Mukai MacKinnon LLP
                                  Five Waterfront Plaza, 4th floor
                                  500 Ala Moana Boulevard
                                  Honolulu, Hawaii 96813
                                  (                           | 6                   | *    WMcCorriston@




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